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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

ANDREW CLINTON CRUSE                                                                    PLAINTIFF

v.                                                                             No. 4:17CV162-DAS

MS DEPT. OF CORRECTIONS, ET AL.                                                      DEFENDANTS


                     ORDER DISMISSING PLAINTIFF’S MOTION [112]
                        FOR SUMMARY JUDGMENT AS MOOT

       This matter comes before the court on the June 4, 2020, motion [112] by the plaintiff for

summary judgment against defendant Aramark Correctional Services. As this case was dismissed on

March 3, 2020, the instant motion [112] is DISMISSED as moot.

       SO ORDERED, this, the 15th day of October, 2020.


                                                      /s/ David A. Sanders
                                                      DAVID A. SANDERS
                                                      UNITED STATES MAGISTRATE JUDGE
